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                       IN THE UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF ARKANSAS
                               FORT SMITH DIVISION



DEVIN LUKE CARRIER                                                            PLAINTIFF

   v.                           CASE NO. 2:21-CV-2036

LT. CYNTHIA WINSTEAD, et. al.                                              DEFENDANTS


                                       JUDGMENT

        Pursuant to the order entered in this case on this date, IT IS CONSIDERED, ORDERED,

and ADJUDGED that this matter is DISMISSED WITHOUT PREJUDICE.

        IT IS SO ADJUDGED this May 25, 2021.


                                                 /s/P. K. Holmes III
                                                 P.K. HOLMES III
                                                 U.S. DISTRICT JUDGE
